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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                            JACKSONVILLE DIVISION


CITY OF JACKSONVILLE, FLORIDA and
JEA,

           Plaintiffs,

     v.                                        Case No.: 3:18-cv-01174-BDJ-JRK

MUNICIPAL ELECTRIC AUTHORITY OF
GEORGIA,

           Defendant.


 INDEX OF EXHIBITS TO THE DECLARATION OF NEIL WOLK IN SUPPORT OF
   DEFENDANT’S OPPOSITION TO JEA’S MOTION TO DISQUALIFY ORRICK

Exhibit        Description of Document
Number

      1        Power Purchase Agreement, dated as of May 12, 2008

      2        Official Statement, Plant Vogtle Units 3 & 4 Project J Bonds, Taxable Series
               2010A (Issuer Subsidy – Build America Bonds) and Series 2010B (Tax-
               Exempt)

      3        Opinion Letter of OGC dated April 29, 2009

      4        Opinion Letter of OGC dated March 11, 2010

      5        Opinion Letter of OGC dated June 24, 2015

      6        Opinion Letter of OGC dated September 9, 2015

      7        Letter from William R. Hollaway to James E. Fuller, dated September 15,
               2017

      8        Letter from J. Allen Maines to James E. Fuller, dated September 29, 2017

      9        Letter from James E Fuller to JEA, dated February 23, 2018

     10        Letter from J. Allen Maines to James E. Fuller, dated March 9, 2018


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